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 8           IN THE UNITED STATES DISTRICT COURT
 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11                                                    Case No. CV 20-9510 MRW
       KAYCEE G.,1
12                                                    JUDGMENT
                            Plaintiff,
13
                  v.
14
       KILOLO KIJAKAZI,
15     Acting Commissioner of Social
       Security,
16
                            Defendant.
17
18             It is the judgment of this Court that the decision of the
19    Administrative Law Judge is VACATED, and the matter is REMANDED to
20    the Social Security Administration for the calculation and award of benefits
21    as required by the Court’s Order.
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23
24
      Date: October 6, 2021                       ___________________________________
25                                                HON. MICHAEL R. WILNER
                                                  U.S. MAGISTRATE JUDGE
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           1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27   the recommendation of the Committee on Court Administration and Case Management of the
28   Judicial Conference of the United States.
